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                                   9         Patrick Byrne
                                   10
LAW OFFICES OF MICHAEL C. MURPHY




                                                                    UNITED STATES DISTRICT COURT
           2625 Townsgate Road, Suite 330




                                   11
             Westlake Village, CA 91361




                                   12
                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                   13

                                   14        ROBERT HUNTER BIDEN, an          ) Case No.: 2:23-cv-09430-SVW-PD
                                                                              )
                                   15        individual,                      ) Judge: Honorable Stephen V. Wilson
                                                                              ) Courtroom: “10A"
                                   16                                         )
                                                                              )
                                   17
                                                      Plaintiff,              ) DEFENDANT’S REPLY IN
                                                                              ) SUPPORT OF HIS MOTION FOR
                                   18                                         )
                                                                              ) SUMMARY JUDGMENT AND/OR
                                   19
                                                 vs.                          ) FOR SUMMARY ADJUDICATION
                                                                              )
                                   20                                         ) AS TO PLAINTIFF’S
                                             PATRICK M. BYRNE, an individual, ) COMPLAINT; MEMORANDUM
                                   21                                         ) OF POINTS AND AUTHORITIES
                                                                              )
                                   22                 Defendant.              ) IN SUPPORT THEREOF
                                                                              )
                                   23                                         )
                                                                              ) [Filed concurrently with Defendant’s Evidentiary Objections
                                   24                                         ) to Plaintiff’s Declaration and Exhibits; Defendant’s Response
                                                                              ) toResponse
                                                                                    Plaintiff’s Additional Controverted Facts; Defendant’s
                                   25                                         )             to Plaintiff’s Disputed Facts; the Declaration of
                                                                              ) Michael C. Murphy]
                                   26                                         )
                                                                              ) Date:                   November 25, 2024
                                   27                                         ) Time:                   1:30    p.m.
                                                                              ) Courtroom: “10A”
                                   28                                         )
                                                                                            i.
                                             DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
                                             ADJUDICATION OF ISSUES AS TO PLAINTIFF’S COMPLAINT
                                             Case No. 2:23-cv-09430-SVW-PD
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                                   1               TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD
                                   2         HEREIN:
                                   3               PLEASE TAKE NOTICE that Defendant hereby files his Reply in support
                                   4         of his Motion for Summary Judgment on the grounds that Plaintiff has failed to
                                   5         produce any evidence to show a genuine triable issue of material fact supported
                                   6         by admissible evidence that proves that Defendant acted with malice against
                                   7         Plaintiff a public figure in that he made false statements of fact with either
                                   8         knowledge of falsity, or with reckless disregard for the truth. Plaintiff has also
                                   9         failed to comply with the provisions of Federal Rules of Civil Procedure 56(d)
                                   10        and has not filed the required declaration to show good cause for a continuance of
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                                             the hearing of this motion or that it be denied because Plaintiff could not
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             Westlake Village, CA 91361




                                   12        diligently obtain discovery he needs to oppose the motion.
                                   13

                                   14        Dated: November 12, 2024              LAW OFFICES OF MICHAEL C. MURPHY
                                   15

                                   16                                                By: /s/ Michael C. Murphy, Esq.
                                   17                                                         ________________________________
                                   18
                                                                                               Michael C. Murphy, Esq.
                                                                                               Michael C. Murphy, Jr., Esq.
                                   19                                                          Attorneys for Defendant,
                                   20                                                          Patrick Byrne
                                   21

                                   22

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                                   28
                                                                                        ii.
                                             DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
                                             ADJUDICATION OF ISSUES AS TO PLAINTIFF’S COMPLAINT
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                                                                                      iii.
                                             DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                                                                                vi.
                                             DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1                       MEMORANDUM OF POINTS & AUTHORITIES
                                   2                                        I.    INTRODUCTION
                                   3               Defendant Patrick Byrne respectfully requests that this Court grant his
                                   4         motion for summary judgment. Plaintiff conceded his public figure status, which
                                   5         requires he prove Defendant made false statements with actual malice. Further,
                                   6         Plaintiff has offered no actual clear and convincing evidence establishing a triable
                                   7         issue of fact in this matter. Plaintiff has proffered no clear and convincing
                                   8         evidence that the Defendant knew his statements were false at the time they were
                                   9         made or that Defendant had serious doubts about the veracity of the statements
                                   10        before he published them.
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                                                   Further, the additional “facts” and “statements” of Undisputed Fact that
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                                   11
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                                   12        Plaintiff included in his response to the uncontroverted facts are neither relevant
                                   13        nor material to the issue of actual malice. Plaintiff has not filed a Declaration
                                   14        showing how and in what manner the evidence he has submitted shows that
                                   15        Defendant acted with the required malice against him. He cannot file such a
                                   16        Declaration and relies on his counsel’s Declaration with the exhibits attached to it
                                   17        because he cannot contradict his deposition testimony that is attached to the
                                   18        moving papers filed by Defendant. The opposition evidence is not clear and
                                   19        convincing and is also mostly inadmissible internet posts and summaries.
                                   20              The mere existence of some alleged factual dispute between the parties will
                                   21        not defeat an otherwise properly supported motion for summary judgment, the
                                   22        requirement is a genuine issue of material fact. (Anderson v. Liberty Lobby, Inc.
                                   23        477 U.S. 242, 247-248 (1986). An issue of fact is genuine if it can easily be
                                   24        resolved in favor of either party. (Id. at 250-251.) Mere disagreement or the bald
                                   25        assertion that that a genuine issue of material fact exists does not preclude
                                   26        summary judgment. (Harper v. Wallingford 877 F.2d 728, 731 (9th Cir. 1989).
                                   27              Plaintiff’s request that the court should alternatively either continue the
                                   28        hearing of the motion to allow him to conduct more discovery or deny the motion
                                                                                        1.
                                             DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1         should be denied by the court. Plaintiff has not submitted the required declaration
                                   2         demonstrating good cause for why he has not conducted the discovery that he
                                   3         needs to oppose the motion or information on any of the other requirements
                                   4         mandated by the code to be entitled to a continuance or for the court to deny this
                                   5         motion. Moreover, his counsel was offered and refused an extension of time if he
                                   6         needed it to prepare and file Plaintiff’s opposition to the motion for summary
                                   7         judgment and clearly confirmed he had more than enough evidence to oppose this
                                   8         motion for summary judgment. Plaintiff’s request for a continuance to conduct
                                   9         discovery is nothing but a strategy and tactic.
                                   10                                    II.      LEGAL ARGUMENT
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                                                   A. Defendant Has Met His Burden of Negating Plaintiff’s Cause of
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                                   12                 Action for Defamation
                                   13             Plaintiff offers no clear and convincing admissible evidence or facts showing
                                   14        that the Defendant knew at the time he made the statements that are the subject of
                                   15        his defamation claim were false or that he had serious doubts about the veracity of
                                   16
                                             the statements before he published them. Plaintiff produced no witnesses, no
                                   17
                                             evidence, no declaration, and no documents showing with clear and convincing
                                   18
                                             evidence that Defendant acted with malice when publishing his statements that are
                                   19
                                             the subject of Plaintiff’s defamation claim.
                                   20
                                                  Plaintiff only offers a single piece of evidence by him on this topic which is a
                                   21
                                             comment he made during his deposition when he was represented by four lawyers
                                   22
                                             coaching him and that did not respond to the question asked about whether he had
                                   23
                                             any evidence that Defendant acted hostilely towards him prior to the publication
                                   24
                                             of the statements he claims were false and defamatory. Plaintiff could not claim he
                                   25

                                   26
                                             had any such evidence but tried to qualify his testimony that such evidence is not

                                   27
                                             before him. This deposition testimony by Plaintiff is not clear and convincing

                                   28        evidence of Defendant’s malice that Plaintiff is required to prove.
                                                                                        2.
                                             DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1             Then in his opposition, Plaintiff uses his counsel’s Declaration to try and use
                                   2         mostly inadmissible internet evidence to allegedly show Defendant’s claimed
                                   3         hostility toward Plaintiff but without the Plaintiff’s Declaration showing his state
                                   4
                                             of mind and perception of these exhibits. Plaintiff’s counsel’s Declaration is not
                                   5
                                             sufficient to show with clear and convincing evidence as to Plaintiff’s state of
                                   6
                                             mind and how Plaintiff has interpreted these opposition exhibits which are before
                                   7
                                             him and the court as showing hostility towards him or how that claimed hostility
                                   8
                                             proves that Defendant acted with the required malice to require that this motion be
                                   9
                                             denied by the court.
                                   10
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                                                 Self-serving declarations uncorroborated by other testimony cannot create a
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                                   11
                                             genuine issue of material fact and particularly when they do not offer any
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                                   12
                                             evidence which is the subject of the motion to wit: Defendant acted with malice
                                   13

                                   14
                                             with clear and convincing evidence. (Villiarimo v Aloha Island Air, Inc. 281 F.3d

                                   15
                                             1054, 1061 (9th Cir. 2002). Plaintiff’s single statement in his deposition while

                                   16        being coached by his four counsel that he did not know if Defendant published
                                   17        articles showing hostility towards him before the alleged false defamatory
                                   18        statements were made and then trying to overcome that admission by Plaintiff
                                   19        with his counsel’s Declaration using inadmissible exhibits and asking the court to
                                   20        extrapolate from them Plaintiff’s state of mind as to those exhibits and conclude
                                   21        that they admissible evidence of Defendant’s hostility towards Plaintiff before he
                                   22        published the alleged defamatory statements are insufficient to defeat summary
                                   23
                                             judgment here because Plaintiff finally admitted he is a public figure. (New York
                                   24
                                             Times Co. v Sullivan 376 U.S. 254, 270 (1964).
                                   25
                                                   1. Plaintiff Has No Clear and Convincing Evidence to Demonstrate Actual
                                   26
                                                      Malice
                                   27
                                                 Plaintiff proffered no clear and convincing evidence that the statements
                                   28
                                             Defendant made were done with actual malice.
                                                                                   3.     Plaintiff bears the burden to prove
                                             DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        with clear and convincing evidence that Defendant either knew the statements
                                   2        were false, or that he made the statements with serious doubts about the veracity
                                   3        of those statements. (New York Times Co. v Sullivan 376 U.S. 254, 270 (1964).
                                   4
                                            Yet, he provides no evidence of either. In fact, Plaintiff acknowledged that he
                                   5
                                            lacked knowledge whether Defendant knew the statements were true, or whether
                                   6
                                            Defendant harbored any serious doubts as to their veracity before they were
                                   7
                                            published. (See Plaintiff’s Responses to Defendant’s Uncontroverted Material
                                   8
                                            Fact #s 37-38.)
                                   9
                                                 Plaintiff claims alleged “hostility” by Defendant towards Plaintiff and/or
                                   10
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                                            Plaintiff’s father only with only the use of his counsel’s declaration and not
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                                   11
                                            Plaintiff’s declaration using exhibits 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16,
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                                   12
                                            14, 58, 59, 63, and 64 that he attaches to his counsel’s declaration. However, this
                                   13

                                   14
                                            evidence submitted to the court by Plaintiff is not clear and convincing evidence

                                   15
                                            of Defendant’s malice towards Plaintiff that he is required to show to defeat this

                                   16       motion.
                                   17            Exhibits 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 14, 58, 59, 63, and 64
                                   18       are internet posts that have not been properly authenticated and are inadmissible.
                                   19       Defendant has filed evidentiary objections to each of these exhibits. However,
                                   20       even if the court were to overrule those objections, there are two reasons why
                                   21       these exhibits do not prove Defendant’s claimed malice with clear and convincing
                                   22       evidence.
                                   23            During his deposition, Plaintiff admitted he could not identify anything
                                   24
                                            Defendant put in writing showing hostility towards him prior to making the
                                   25
                                            claimed statements in this case. He answered the question twice and could not
                                   26
                                            answer it as to him but only his family. (UMF 43)
                                   27
                                                 Moreover, these prepublication exhibits are merely political discourse and
                                   28
                                            opinion that is protected by the First Amendment.
                                                                                     4.       They are not proof of malice by
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        Defendant with clear and convincing evidence relating in any way to the
                                   2        publication of the statements at issue in this case. They do not even relate in any
                                   3        way to the alleged defamatory statements.
                                   4
                                                 Moreover, hostility alone by a Defendant towards a Plaintiff is not enough to
                                   5
                                            prove with clear and convincing evidence actual malice by Defendant in
                                   6
                                            statements he made against a public figure plaintiff that are the subject of a
                                   7
                                            defamation claim. (Schoen v Schoen 48 F.3d 412, 417 (9th Cir. 1995), citing to
                                   8
                                            Greenbelt Cooperative Publishing Ass’n v Bresler 398 U.S. 6, 10-11 (1970):
                                   9
                                            “’spite, hostility, or deliberate intention to harm’ not equivalent to actual malice.”)
                                   10
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                                                 Plaintiff also relies in his opposition on alleged post publication statements
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                                   11
                                            and publications by Defendant to try and prove actual malice with clear and
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                                   12
                                            convincing evidence. These are Exhibits 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28,
                                   13

                                   14
                                            29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 42, 43, 44, 45, 46, 47, 48, 49, 60, 61,

                                   15
                                            62, and 65. Defendant has filed evidentiary objections to each of these exhibits.

                                   16       However, even if the court were to overrule those objections and consider these
                                   17       exhibits, they are merely political discourse and opinion that is protected by the
                                   18       First Amendment and especially with Plaintiff admitting he is a public figure
                                   19       involved in the political arena. Just like the prepublication exhibits, these post
                                   20       publication exhibits make no reference at all to the alleged defamatory statements.
                                   21            None of these alleged post defamatory statements contained in Exhibits 18,
                                   22       19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40,
                                   23       42, 43, 44, 45, 46, 47, 48, 49, 60, 61, 62, and 65 show that Defendant knew his
                                   24
                                            alleged defamatory statements were false when he made them or had serious
                                   25
                                            doubts about the veracity of those statement before they were published.
                                   26
                                                 For example, Plaintiff has not demonstrated any nexus between the
                                   27
                                            statements related to his laptop and the statements in question in his exhibits.
                                   28
                                            Additionally, the alleged statements purportedly
                                                                                     5.      made by Defendant regarding
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
                                            ADJUDICATION OF ISSUES AS TO PLAINTIFF’S COMPLAINT
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                                   1        Plaintiff’s laptop and indictments ultimately proved correct: Plaintiff was indicted
                                   2        twice in 2023, and evidence purportedly on his “laptop” was used at his gun trial.
                                   3        Plaintiff does not even attempt to tie in the statements and publications in his
                                   4
                                            exhibits to the alleged defamatory statements.
                                   5
                                                 And to the extent any of Plaintiff’s exhibits relate at all to the alleged
                                   6
                                            defamatory statements, there is nothing in those exhibits which prove with clear
                                   7
                                            and convincing evidence of any kind that Defendant knew that when he made the
                                   8
                                            alleged defamatory statements that they were false or he had serious doubts about
                                   9
                                            the veracity of those statements before he published them.
                                   10
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                                                 Worse yet, the transcript summaries Plaintiff relies on are poorly transcribed,
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                                   11
                                            and contain numerous errors, including obvious spelling errors, grammatical
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                                   12
                                            errors, and omissions. For example, the transcription of the audio voicemail
                                   13

                                   14
                                            recording submitted, Plaintiff’s Exhibit 54, changes “lobbying firm” to “law big

                                   15
                                            firm,” which makes little sense. Similarly, in Plaintiff’s Exhibit 31 transcribes the

                                   16       phrase “nothing to write home about” as “nothing to wright home about” twice.
                                   17       There are numerous other mistakes in the transcripts, including inconsistent and
                                   18       incomplete time-stamps, gaps, and incorrect transcriptions of statements and
                                   19       phrases. Such errors render the transcriptions unreliable. Moreover, there is no
                                   20       testimony offered by the actual transcriber that the transcriptions were correct, or
                                   21       what efforts were made to ensure they were correct. Unedited transcripts such as
                                   22       these fail to meet the requirements for authentication under Federal Rule of
                                   23
                                            Evidence Rule 901(a) and are inadmissible pursuant to Federal Rule of Civil
                                   24
                                            Procedure 56(c)(2) and (4). (Snyder v CitiSteel USA Inc., 508 F.Supp.2d 407, 412-
                                   25
                                            413 (D. Del. 2007): unedited transcript not authenticated and employee conceded
                                   26
                                            it contained numerous errors.) Similarly, “edited, non-verbatim, non-final” draft
                                   27
                                            transcripts are inadmissible under Federal Rules of Evidence 901(a) and 104(b)
                                   28
                                            because they are not authenticated and contain
                                                                                     6.    numerous errors. (Bank Brussels
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        Lambert v Credit Lyonnais (Suisse) S. A., 168 F.Supp.2d 57, 58, 60-61.) Here, the
                                   2        transcriptions are clearly non-verbatim, unedited drafts that have not been
                                   3        authenticated. As such, they cannot be considered, and should be disregarded.
                                   4
                                                 Plaintiff relies on Sanders v Walsh (2013) 219 Cal.App.4th 855 as an example
                                   5
                                            of clear and convincing evidence of actual malice in which the defendant there
                                   6
                                            admitted to making harsh statements about the Plaintiff. However, that is not the
                                   7
                                            case here. The “harsh statements” in Sanders ended up in that case to being the
                                   8
                                            defamatory statements that the defendant in that case ultimately admitted to
                                   9
                                            making after initially denying she made them and that were the basis of Plaintiff’s
                                   10
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                                            claim against the Defendant in that case. (Id. at pp. 862, 874.)
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                                   11
                                                 Similarly, Plaintiff relies on Curtis Publishing v Butts 388 U.S. 130 (1960)
             Westlake Village, CA 91361




                                   12
                                            for the proposition that an intentionally inadequate investigation supports a
                                   13

                                   14
                                            finding of actual malice because that evidence shows Defendant had serious

                                   15
                                            doubts about the statement but published them. However, that case is inapplicable

                                   16       here.
                                   17            Plaintiff has not offered one scintilla of evidence that Defendant intentionally
                                   18       conducted an inadequate investigation and went ahead and published the alleged
                                   19       defamatory statements in this case knowing they were false or had serious doubts
                                   20       about whether the statements were true. Plaintiff has no witnesses, no documents,
                                   21       and no declarations of any kind showing with clear and convincing evidence that
                                   22       Defendant intentionally conducted an inadequate investigation and acted with the
                                   23
                                            required malice.
                                   24
                                                 Plaintiff also relies on Kaelin v. Globe Commc’ns Corp., 162 F.3d 1036 (9th
                                   25
                                            Cir. 1998) as a final example of actual malice. However, Kealin is inapposite here.
                                   26
                                            In that case, a newspaper ran a headline that accused the plaintiff of killing O.J.
                                   27
                                            Simpson’s wife. (Id. at 1042.) However, the plaintiff in that case offered the
                                   28
                                            testimony of the editor who admitted that7.he doubted the accuracy of the headline.
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        (Ibid.) His deposition testimony that “the front page of the tabloid paper is what
                                   2        we sell the paper on, not what’s inside it” supported an inference that the headline
                                   3        was intentionally false to capture the intention of the reader and sell magazines.
                                   4
                                            (Ibid.)
                                   5
                                                 Here, Plaintiff has offered absolutely no evidence Defendant intentionally
                                   6
                                            published knowingly false statements, or that he published them with reckless
                                   7
                                            disregard for the truth. Plaintiff has no witnesses, no documents, and no
                                   8
                                            declarations of any kind showing with clear and convincing evidence that
                                   9
                                            Defendant intentionally published the statements either knowing they were false,
                                   10
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                                            or with reckless disregard for the truth and/or intentionally conducted an
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                                   11
                                            inadequate investigation.
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                                   12
                                                 Finally, Plaintiff misrepresents Defendant’s statements in his discovery
                                   13

                                   14
                                            responses, which clearly stated that Defendant merely relied on David Smith and

                                   15
                                            John Moynihan to help verify the identity of the person who made statements on

                                   16       the tapes he obtained prior to the publication of the alleged defamatory statements.
                                   17       At no point does Defendant ever state in his discovery responses that he relied on
                                   18       David Smith or John Moynihan for information from them to create the published
                                   19       statements that Plaintiff claims are defamatory in this case.
                                   20            Internet posts are viewed as a catalyst for rumor, innuendo and
                                   21       misinformation. Consequently, information from the internet is regarded as
                                   22       inherently untrustworthy. (St. Clair v. Johnny’s Oyster & Shrimp, Inc. 76 F. Supp.
                                   23       773, 774-775 (SD TX 1999).) Plaintiff’s exhibits that were allegedly procured
                                   24
                                            from websites and or social media are inadmissible because Plaintiff has not
                                   25
                                            provided this court in his opposition with actual proof based on the personal
                                   26
                                            knowledge of who maintains the website where the publications occurred, who
                                   27
                                            authored the documents on the websites and social media posts, who authorized
                                   28
                                            the publication of the statements, and the 8.accuracy of the documents’ contents
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                                   1        printed from the website. (Wady v. Provident Life & Accident Ins. Co. of America
                                   2        216 F. Supp.2d 1060, 1064-1065 (CD CA 2002).
                                   3             The internet exhibits referenced herein that Plaintiff offers with his
                                   4
                                            opposition to the motion for summary judgment are untrustworthy internet
                                   5
                                            information that are not properly authenticated as required by the rules of
                                   6
                                            evidence. Plaintiff’s counsel attests he took screenshots of various posts allegedly
                                   7
                                            taken from Defendant’s website and social media platforms as well as other
                                   8
                                            websites. However, it is not clear that the posts that allegedly came from these
                                   9
                                            sites were actually posted by Defendant or someone authorized to make these
                                   10
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                                            posts by Defendant. There is also no evidence provided by Plaintiff that the social
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                                   11
                                            media posts were made or authorized to be published by Defendant. Plaintiff’s
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                                   12
                                            counsel’s sole attestation that he took the screenshots that are attached to his
                                   13

                                   14
                                            Declaration in support of Plaintiff’s opposition to the motion for summary

                                   15
                                            judgment cannot satisfy this requirement.

                                   16            Even if the Court believes all the evidence proffered by Plaintiff, and draws
                                   17       all inferences in his favor, Plaintiff cannot prevail. (See Anderson v Liberty Lobby
                                   18       477 U.S. 242, 255-256 (1986). The evidence comprises mainly of screenshots
                                   19       taken by Plaintiff’s counsel both before and after the date of the publication in
                                   20       question, but they do not speak about the issues at play here. Plaintiff does not
                                   21       dispute his deposition testimony that he has no knowledge of whether Defendant
                                   22       lacked knowledge of the falsity of the statements and/or had no knowledge serious
                                   23       doubts about the truthfulness of the statements (See Plaintiff’s Responses to
                                   24
                                            Defendant’s Uncontroverted Material Fact #s 37-38.).
                                   25
                                                 Plaintiff’s inflammatory allegations that Defendant is, in essence, a right-
                                   26
                                            wing nutjob and acted with the required malice (knowledge the statement was
                                   27
                                            false when made or had doubts about the veracity of the statements before they
                                   28
                                            were published) simply by providing inadmissible
                                                                                   9.        evidence of his political beliefs
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        with the exercise of his First Amendment rights to state his political beliefs and
                                   2        when Plaintiff is a political public figure in the arena does not constitute clear and
                                   3        convincing evidence of malice by Defendant in this case. Plaintiff’s evidence
                                   4
                                            attached to his client’s Declaration is also mostly inadmissible character evidence.
                                   5
                                            (Fed. Rules of Evid. Secs. 401, 404(a)(1).)
                                   6
                                                  B. Plaintiff’s Request for a Continuance Should be Denied.
                                   7
                                                  1. The Law Applicable to Requests for Continuance Related to a Motion for
                                   8
                                                      Summary Judgment.
                                   9
                                                   Federal Rule of Civil Procedure Rule 56(d) allows a party to file an
                                   10
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                                            affidavit or declaration and ask the court to defer consideration of a motion for
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                                   11
                                            summary judgment or to deny it to allow the opposing party more time to obtain
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                                   12
                                            affidavits, declarations or to take discovery to then be used to oppose the motion.
                                   13

                                   14
                                            This reason for this rule is to prevent the opposing party from being “railroaded”

                                   15
                                            by a premature motion for summary judgment. (Celotex Corp. v. Catrett 477 US

                                   16       317, 106 S.Ct. 2548, 2554 (1986); Rivera-Torres v. Rey Hernandez 502 F.3d 7, 10
                                   17       (1st Cir. 2007).)
                                   18              The opposing party’s required declaration that must be filed with a
                                   19       continuance request under Federal Rule of Civil Procedure 56(d) must show (a)
                                   20       facts indicating a likelihood that controverting evidence exists as to a material
                                   21       fact, (b) specific reasons why such evidence was not discovered or obtained
                                   22       earlier in the proceedings, (c) the steps or procedures by which the opposing party
                                   23
                                            proposes to obtain such evidence in a reasonable amount of time and an
                                   24
                                            explanation of how those facts will suffice to defeat the motion for summary
                                   25
                                            judgment. (Tatum v. City & County of San Francisco 441 F.3d 1090, 1101 (9th
                                   26
                                            Cir. 2006).
                                   27
                                                   Rule 56(d) is not self-executing and the court has no obligation to invoke it.
                                   28
                                            The party seeking continuance of the motion
                                                                                   10.  must comply with the requirements
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        of the code and not oppose the motion for summary judgment through the use of a
                                   2        requested Rule 56(d) continuance as a strategic and tactical effort to try and defeat
                                   3        a motion for summary judgment. (United States v. Kitsap Physicians Service 314
                                   4
                                            F.3d 995, 997 (9th Cir. 2002).)
                                   5
                                                  Plaintiff must accept the consequences of his choice to delay and not
                                   6
                                            conduct discovery diligently and particularly when Plaintiff is given notice by
                                   7
                                            Defendant that he intends to bring a motion for summary judgment. (Cornwell v.
                                   8
                                            Electra Cent. Credit Union 439 F.3d 1018, 1027 (9th Cir. 2006); Stitt v. Williams
                                   9
                                            919 F.2d 516, 526 (9th Cir. 1989).)
                                   10
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                                                  Rule 56(d) is not designed to give relief to those who sleep upon their rights
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                                   11
                                            and do not act with due diligence both in conducting discovery and in promptly
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                                   12
                                            seeking a Rule 56(d) extension of time thereafter. (Rivera-Torres v. Rey
                                   13

                                   14
                                            Hernandez 502 F.3d 7, 10 (1st Cir. 2007).) If the opposing party already had ample

                                   15
                                            opportunity to conduct discovery, the request for a continuance should be denied.

                                   16       (Cornwell v. Electra Cent. Credit Union 439 F.3d 1018, 1027 (9th Cir. 2006); Stitt
                                   17       v. Williams 919 F.2d 516, 526 (9th Cir. 1989).
                                   18             Finally, under Federal Rule of Civil Procedure 41(b), Plaintiff must
                                   19       diligently prosecute his case including diligently conducting discovery and the
                                   20       court can dismiss a case if Plaintiff fails to comply with the court’s discovery
                                   21       orders and its case management orders. The duty to diligently prosecute the case is
                                   22       not imposed on the Defendant.
                                   23
                                                  2. The Court Should Deny the Requested Continuance and Grant the
                                   24
                                                     Motion for Summary Judgment.
                                   25
                                                  On or about March 20, 2024, this court issued its Civil Trial Preparation
                                   26
                                            Order. In the court’s Order at page 4, the court ordered that the discovery process
                                   27
                                            shall begin with that order and discovery should be conducted to the fullest extent
                                   28
                                            possible. The Court also noted in its Order
                                                                                     11. that it does not look favorably upon
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        delay resulting from unnecessarily unresolved discovery disputes.
                                   2              Plaintiff has four lawyers representing him in this case. They are all
                                   3        employed by prominent large law firms. All along Plaintiff has had ample legal
                                   4
                                            talent representing him in this case. Any of those four lawyers were always able to
                                   5
                                            assist with the prosecution of this case including diligently conducting discovery
                                   6
                                            and taking depositions.
                                   7
                                                  Although Plaintiff contends in his Opposition papers that he needs a
                                   8
                                            continuance to conduct discovery to oppose the motion for summary judgment,
                                   9
                                            Plaintiff has failed to comply with the requirements of Rule 56(d) and has not
                                   10
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                                            filed with the court and made an application based on the Declaration information
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                                   11
                                            required by the code including a showing of due diligence in conducting
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                                   12
                                            discovery, why the continuance is needed, and why the request for a continuance
                                   13

                                   14
                                            was not requested sooner. On that basis alone, the request for a continuance

                                   15
                                            cannot be granted by the court because the Declaration required by Rule 56(d) has

                                   16       not been filed with the court.
                                   17             From March 20, 2024, to the present, Plaintiff has not taken a single
                                   18       deposition. Defendant’s counsel warned Plaintiff’s counsel on August 18, 2024,
                                   19       and during an IDC that he intended to proceed with a motion for summary
                                   20       judgment and Plaintiff should conduct whatever discovery they need to oppose the
                                   21       motion. Plaintiff never opposed the notice by Defendant.
                                   22             On October 30, 2024, Defendant’s counsel offered to move the date and
                                   23       related deadlines for the summary judgment motion, in light of the Magistrate
                                   24
                                            Judge’s ruling regarding Defendant’s deposition. Defendant offered to move the
                                   25
                                            date to accommodate Plaintiff in taking the deposition of Defendant. Plaintiff’s
                                   26
                                            counsel specifically refused Defendant’s offer of an extension and in his e-mail of
                                   27
                                            October 30, 2024, wherein he stated:
                                   28
                                                  “We see no need at this point to continue
                                                                                     12.    any of the pretrial dates or any of
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        the deadlines associated with Defendant’s Motion for Summary Judgment as we
                                   2        are ready to proceed on all fronts. As such, we will not agree to enter into a
                                   3        stipulation to continue any of the dates you propose.”
                                   4
                                                  Plaintiff’s counsel categorically refused a continuance, and stated he was
                                   5
                                            ready to proceed with Plaintiff’s Opposition to Defendant’s Motion for Summary
                                   6
                                            Judgment. These e-mails were not submitted to the court with Plaintiff’s
                                   7
                                            opposition papers and with his request for a continuance of the summary judgment
                                   8
                                            motion.
                                   9
                                                  As mentioned above, the matter has been pending for a year. Defendant
                                   10
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                                            filed his answer February 13, 2024. Plaintiff waited until he opposed the motion
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                                   11
                                            on the merits to request a continuance of the motion dates on the grounds he needs
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                                   12
                                            more discovery. Moreover, the evidence he claims to seek is not likely to prevent
                                   13

                                   14
                                            summary judgment. In fact, while Plaintiff seeks to depose Defendant on the basis

                                   15
                                            the deposition will show actual malice, he offers no factual basis for that assertion

                                   16       with the required Declaration. (See Margolis v Ryan 140 F.3d 850, 853-854 (9th
                                   17       Cir. 1998).) Similarly, Plaintiff provides no evidence that the information he seeks
                                   18       from Defendant regarding David Smith would preclude summary judgment. (Ibid;
                                   19       Chance v Pac-Tel Teletrac, Inc. 242 F.3d 1151, 1161 n.6. (9th Cir. 2001): non-
                                   20       moving party failed to identify what the missing evidence may be.)
                                   21             Moreover, Plaintiff bears the burden to demonstrate he diligently pursued
                                   22       all discovery opportunities after the initial case management conference and must
                                   23
                                            show that the additional discovery would have precluded summary judgment.
                                   24
                                            (Chance v Pac-Tel Teletrac, Inc. 242 F.3d 1151, 1161 (9th Cir. 2001): non-moving
                                   25
                                            party learned of witnesses seven months prior, and made no argument why it
                                   26
                                            could not take additional discovery in that time period, and thus failed to
                                   27
                                            diligently pursue discovery; Byrd v Guess 137 F.3d 1126, 1131 (9th Cir. 1998).
                                   28
                                                  Here, Plaintiff offers no explanation
                                                                                      13. why he needs to only depose
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        Defendant regarding Defendant’s discussions with David Smith. First, Defendant
                                   2        never once stated that he only relied on Mr. Smith for the statements themselves.
                                   3        Defendant’s verified discovery responses make it clear that he verified the facts
                                   4
                                            relating to the tapes and the identity of the person on them with the assistance of
                                   5
                                            Mr. Smith and Mr. John Moynihan. Secondly, Defendant identified David Smith,
                                   6
                                            Mr. John Moynihan, and provided their contact information, in his verified May
                                   7
                                            23, 2024, discovery responses. Plaintiff has provided no explanation why he could
                                   8
                                            not take Mr. Smith’s deposition in the last six months pending Defendant’s
                                   9
                                            deposition. Again, Plaintiff has provided no explanation why he could not depose
                                   10
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                                            Mr. Moynihan over the last six months pending Defendant’s deposition.
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                                   11
                                                  C. Plaintiff Ignored Defendant’s Efforts to Meet and Confer
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                                   12
                                                  Defense counsel made every effort to meet and confer in compliance with
                                   13

                                   14
                                            the Local Rules. However, Plaintiff disregarded Defendant’s email. Plaintiff

                                   15
                                            acknowledged Defendant's intent to file the motion on August 17, 2024, although

                                   16       he did so indirectly, and only as an argument to bolster his argument during a
                                   17       discovery dispute. He otherwise failed to discuss the matter with Defense counsel
                                   18       further, and largely ignored defense counsel’s email. Regardless, Plaintiff opposed
                                   19       the motion on the merits, relegating his concerns about Defendant's efforts to meet
                                   20       and confer to a mere footnote and claimed before he filed his opposition that he
                                   21       did not need a continuance to oppose the motion.
                                   22                                       III.   CONCLUSION
                                   23             As Plaintiff has produced no evidence to show a genuine triable issue of
                                   24       fact supported by admissible evidence proving with clear and convincing evidence
                                   25       of Defendant’s malice or good cause for a continuance of the hearing of this
                                   26       motion, Defendant respectfully requests the Court grant summary judgment in its
                                   27       entirety in his favor.
                                   28
                                                                                      14.
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
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                                   1        Dated: November 12, 2024            LAW OFFICES OF MICHAEL C. MURPHY
                                   2

                                   3                                              By: /s/ Michael C. Murphy, Esq.
                                   4                                                      ________________________________
                                   5
                                                                                           Michael C. Murphy, Esq.
                                                                                           Michael C. Murphy, Jr., Esq.
                                   6                                                       Attorneys for Defendant,
                                   7                                                       Patrick Byrne
                                   8

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                                                                                    15.
                                            DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT/SUMMARY
                                            ADJUDICATION OF ISSUES AS TO PLAINTIFF’S COMPLAINT
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